                                                         Case 2:19-cv-04162-PSG-JPR Document 73 Filed 01/23/20 Page 1 of 8 Page ID #:483


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                                                                   6    Attorneys for Jian Na Wu
                                                                   7
                                                                   8
                                                                                    THE UNITED STATES DISTRICT COURT FOR THE
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                                                                                            CENTRAL DISTRICT OF CALIFORNIA
                                                                   10
                                                                   11
                                                                        JIAN NA WU, an individual,                         Case No.: 2:19-cv-04162 PSG(JPRx)
                                                                   12
                                                                   13                       Plaintiff,                     NOTICE OF MOTION AND
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                                                                                                                           MOTION FOR WITHDRAWAL OF
                                       Telephone: (310) 356-8472




                                                                   14         vs.
                                        Los Angeles, CA 90025
SATNICK LAU LLP




                                                                                                                           ADAM M. SATNICK, ESQ., AND
                                                                   15   OREGON TRAIL CORPORATION, a                        BENSON K. LAU, ESQ., AS
                                                                   16   California corporation; AIM UNITED                 ATTORNEYS OF RECORD FOR
                                                                        LLC, a California limited liability company;       PLAINTIFF JIAN NA WU
                                                                   17   SOUNDMIND ENTERPRISES LLC, a
                                                                        California limited liability company doing         Date: Monday, March 16, 2020
                                                                   18
                                                                        business as UR FRIENDLY MOVER;                     Time: 1:30 p.m.
                                                                   19   ERIC MARK, an individual; RYAN                     Courtroom: 6A (Hon. Philip S. Gutierrez)
                                                                        MARK, an individual; CHRIS MARK, an
                                                                   20
                                                                        individual doing business as FAR WEST
                                                                   21   REALTY; BRIAN ANGEL, an individual;
                                                                        JASON ROSSO, an individual; WESLEY
                                                                   22   ROSSO, an individual; JOSHUA
                                                                   23   MEDINA, an individual; and DOES 1
                                                                        through 100, inclusive,
                                                                   24
                                                                   25                       Defendants.
                                                                   26         PLEASE TAKE NOTICE that on Monday, March 16, 2020, at 1:30 p.m., in
                                                                   27   Courtroom 6A located at the First Street Courthouse, 350 West 1st Street, 6th Floor,
                                                                   28   Los Angeles, California 90012, Adam M. Satnick, Esq., and Benson K. Lau, Esq.,

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                                                                                                         MOTION FOR WITHDRAWAL
                                                         Case 2:19-cv-04162-PSG-JPR Document 73 Filed 01/23/20 Page 2 of 8 Page ID #:484


                                                                   1    attorneys of record for Plaintiff Jian Na Wu will move for an order permitting them to
                                                                   2    withdraw as attorneys of record in this action pursuant to United States District Court
                                                                   3    Central District of California Local Rule (“L.R.”) 83-2.3.2.
                                                                   4          This Motion is based on this Notice of Motion and Motion, the accompanying
                                                                   5    Memorandum of Points and Authorities, court records and files, the accompanying
                                                                   6    declaration of Adam M. Satnick, Esq., and upon such other matters that the Court may
                                                                   7    consider at the hearing on the Motion.
                                                                   8
                                                                   9
                                                                   10    DATED: 1/23/2020                           SATNICK LAU LLP
                                                                   11
                                                                   12                                               By:
                                                                                                                          ADAM M. SATNICK
                                                                   13
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                                                                                                                          BENSON K. LAU
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                                                                   14                                                     Attorneys for Jian Na Wu
                                        Los Angeles, CA 90025
SATNICK LAU LLP




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                                                                                                      MOTION FOR WITHDRAWAL
                                                         Case 2:19-cv-04162-PSG-JPR Document 73 Filed 01/23/20 Page 3 of 8 Page ID #:485


                                                                   1                     MEMORANDUM OF POINTS AND AUTHORITIES
                                                                   2    I.     INTRODUCTION
                                                                   3           Adam M. Satnick, Esq., and Benson K. Lau (“Attorneys”) bring this motion to
                                                                   4    be relieved as counsel because there has been a irreparable break down in the attorney
                                                                   5    client relationship between the Attorneys, on the one hand, and Plaintiff Jian Na Wu
                                                                   6    (“Mr. Wu”) and his agent, Helen Fung (“Ms. Fung”), on the other hand.
                                                                   7           The breakdown in the relationship is threefold: (1) Mr. Wu and Ms. Fung insist
                                                                   8    that Attorneys engage in conduct contrary to Attorneys’ independent professional
                                                                   9    judgment; (2) Mr. Wu and Ms. Fung have made it unreasonably difficult for Attorneys
                                                                   10   to carry out representation effectively; (3) Mr. Wu and Ms. Fung are in violation of
                                                                   11   Attorneys’ “Expenses” and “Cooperation” clauses in the parties’ professional services
                                                                   12   agreement.
                                                                   13   II.    STATEMENT OF FACTS
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                                                                   14          Attorneys initiated this lawsuit on behalf of Mr. Wu after Ms. Fung contacted
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                                                                   15   Attorneys in late April 2019. [Declaration of Adam M. Satnick, Esq. (“Satnick Dec.”)
                                                                   16   ¶2].
                                                                   17          Mr. Wu lives in China. Ms. Fung is Mr. Wu’s agent with respect to this litigation.
                                                                   18   Ms. Fung is a liaison between Attorneys and Mr. Wu. Ms. Fung translates documents
                                                                   19   for Mr. Wu, relays messages between Attorneys and Mr. Wu, and has authority to sign
                                                                   20   documents on Mr. Wu’s behalf and bind him to agreements. [Satnick Dec. ¶3].
                                                                   21          On May 4, 2019, Mr. Wu and Ms. Fung executed Attorneys’ professional
                                                                   22   services agreement, which among other things, contained certain obligations
                                                                   23   concerning costs and expenses as well as obligations arising out of Attorneys’
                                                                   24   “Cooperation” clause. [Satnick Dec. ¶4].
                                                                   25          This case is not fully at issue. Only two out of the ten originally named
                                                                   26   defendants have answered. Eight defendants are in default, though one is disputing its
                                                                   27   default status. Six defendants were recently added in a first amended complaint but
                                                                   28   have not yet been served. Trial is over 160 days away and only minimal discovery has

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                                                                                                      MOTION FOR WITHDRAWAL
                                                         Case 2:19-cv-04162-PSG-JPR Document 73 Filed 01/23/20 Page 4 of 8 Page ID #:486


                                                                   1    been conducted due to the primary defendants’ defaults. [Satnick Dec. ¶5].
                                                                   2           After six months of diligent representation, it is clear that Attorneys’ relationship
                                                                   3    with Mr. Wu and Ms. Fung is unable to continue due to an irreparable breakdown in
                                                                   4    attorney-client relationship. [Satnick Dec. ¶6].
                                                                   5    III.   DISCUSSION
                                                                   6           A.    Attorneys Must Disclose Only As Much As Reasonably Necessary
                                                                   7    To Demonstrate Need To Withdraw
                                                                   8           Attorneys are bound to preserve client confidences even when seeking to be
                                                                   9    relieved as counsel. California Rule of Court 3.1362(c)—attorney’s declaration in
                                                                   10   support of withdrawal motion cannot compromise attorney-client confidentiality;
                                                                   11   California Rule of Professional Conduct (“CRPC”) 1.16(d) (formerly CRPC 3-
                                                                   12   700(A))—attorney withdrawal must not prejudice client; San Diego Bar Ass’n
                                                                   13   Form.Opn. 1990-2—duty of confidentiality applies to both mandatory and permissive
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                                                                   14   withdrawal under former rule; Cal. State Bar Form.Opn. 2015-192 (decided under
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                                                                   15   former rule)—attorney may disclose to court only as much as reasonably necessary to
                                                                   16   demonstrate need to withdraw.
                                                                   17          Here, despite the breakdown in Attorneys’ relationship with Mr. Wu and Ms.
                                                                   18   Fung, Attorneys’ endeavor to protect their confidences and preserve the attorney-client
                                                                   19   privilege while sufficiently demonstrating good cause to withdraw. [Satnick Dec. ¶7].
                                                                   20          B.    Good Cause Exists To Permit Attorneys To Withdraw
                                                                   21          L.R. 83-2.3.2 provides that “An attorney may not withdraw as counsel except by
                                                                   22   leave of court. A motion for leave to withdraw must be made upon written notice given
                                                                   23   reasonably in advance to the client and to all other parties who have appeared in the
                                                                   24   action. The motion for leave to withdraw must be supported by good cause. Failure of
                                                                   25   the client to pay agreed compensation is not necessarily sufficient to establish good
                                                                   26   cause.”
                                                                   27          Federal courts generally look to applicable state rules of professional conduct in
                                                                   28   deciding matters concerning withdrawal. Rutter Group Prac. Guide Fed. Civ. Pro.

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                                                                                                       MOTION FOR WITHDRAWAL
                                                         Case 2:19-cv-04162-PSG-JPR Document 73 Filed 01/23/20 Page 5 of 8 Page ID #:487


                                                                   1    Before Trial Ch. 12-G.
                                                                   2                  1.     Attorneys are being prevented from exercising independent
                                                                   3    professional judgment.
                                                                   4           CRPC 2.1 specifies that a lawyer must exercise independent professional
                                                                   5    judgment in representing a client.
                                                                   6           Mr. Wu and Ms. Fung are preventing Attorneys’ from exercising independent
                                                                   7    professional judgment with respect to litigation strategy. Mr. Wu and Ms. Fung are not
                                                                   8    attorneys. Their apparent difficulty to understand concepts of jurisprudence such as
                                                                   9    burdens of proof, evidence, credibility, remedies, and damages, has resulted in their
                                                                   10   making demands of Attorneys that are untenable or impossible to carry out. [Satnick
                                                                   11   Dec. ¶8].
                                                                   12          Attorneys are unable to exercise independent professional judgment because Mr.
                                                                   13   Wu and Ms. Fung tend to impose their wills on Attorneys, resulting in lengthy
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                                                                   14   argument concerning the merits, viability, and ethical implications of purported legal
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                                                                   15   strategy. Attorneys are forced to “walk-the-line” between the clients’ unreasonable or
                                                                   16   impossible instruction and demand, and what Attorneys believe to best for the case in
                                                                   17   their independent professional judgment. [Satnick Dec. ¶9].
                                                                   18                 2.     Mr. Wu and Ms. Fung have rendered it unreasonably difficult
                                                                   19   for Attorneys to carry out representation effectively.
                                                                   20          Withdrawal is permitted where “the client by other conduct renders it
                                                                   21   unreasonably difficult for the lawyer to carry out the representation effectively.” CRPC
                                                                   22   1.16(b)(4) (formerly CRPC 3-700(C)(1)(d)).
                                                                   23         A withdrawal motion may properly be based simply on a personality clash with
                                                                   24   the client. The breakdown in the attorney-client relationship is ground for allowing the
                                                                   25   attorney to withdraw. Estate of Falco v. Decker (1987) 188 Cal.App.3d 1004, 1014.
                                                                   26         Attorneys are no longer able to effectively communicate with Ms. Fung due to
                                                                   27   differences in opinion concerning the evidence of the case, its merits, parties, litigation
                                                                   28   strategy, and timing. Ms. Fung refuses to listen to Attorneys, speaks over them, and

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                                                                                                       MOTION FOR WITHDRAWAL
                                                         Case 2:19-cv-04162-PSG-JPR Document 73 Filed 01/23/20 Page 6 of 8 Page ID #:488


                                                                   1    flatly ignores what they are telling her. [Satnick Dec. ¶10].
                                                                   2           Ms. Fung also refuses to allow Attorneys to communicate directly with Mr. Wu.
                                                                   3    [Satnick Dec. ¶11]. (Several ethics opinions have concluded that a lawyer’s inability to
                                                                   4    locate the client is cause for withdrawal under CRPC 1.16(b) (formerly CRPC 3-
                                                                   5    700(B)). Cal. State Bar Form.Opns. 1989-111, 2002-160 (decided under former rule);
                                                                   6    Los Angeles Bar Ass’n Form.Opn. 441 (1987) (decided under former rule); see also
                                                                   7    Sampson v. State Bar (1974) 12 Cal.3d 70, 82; Bodisco v. State Bar (1962) 58 Cal.2d 495,
                                                                   8    497—where attorney cannot locate client to discuss settlement offer, attorney may not
                                                                   9    settle the matter and may be obligated to seek permission under former rule to
                                                                   10   withdraw from case.)
                                                                   11          Due to this breakdown in communication, Attorneys have effectively lost
                                                                   12   contact with the primary client, Mr. Wu.
                                                                   13                 3.     Mr. Wu and Ms. Fung breached material terms of the parties’
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                                                                   14   professional services agreement.
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                                                                   15          A lawyer is permitted to withdraw if the client “breaches a material term of an
                                                                   16   agreement with, or obligation, to the lawyer relating to the representation, and the
                                                                   17   lawyer has given the client a reasonable warning after the breach that the lawyer will
                                                                   18   withdraw unless the client fulfills the agreement or performs the obligation.” CRPC
                                                                   19   1.16(b)(5) (eff. 11/1/18) (formerly CRPC 3-700(C)(1)(f)).
                                                                   20          Mr. Wu and Ms. Fung breached the “Expenses” and “Cooperation” clauses in
                                                                   21   the parties’ professional services agreement. The parties’ professional services
                                                                   22   agreement contains an “Expenses” clause that requires reimbursement of attorney-
                                                                   23   advanced costs and expenses. Due to a breach of this clause, Attorneys are no longer
                                                                   24   able or willing to advance the costs and expenses of this suit. To continue to do so
                                                                   25   would become so burdensome for Attorneys that their practice could be severely
                                                                   26   harmed. [Satnick Dec. ¶12].
                                                                   27          In addition, Mr. Wu and Ms. Fung violated the parties’ “Cooperation” clause by
                                                                   28   failing to disclose certain information that is relevant to their claims. [Satnick Dec. ¶13].

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                                                                                                       MOTION FOR WITHDRAWAL
                                                         Case 2:19-cv-04162-PSG-JPR Document 73 Filed 01/23/20 Page 7 of 8 Page ID #:489


                                                                   1           Attorneys gave notice of these breaches on January 8, 2020, but neither Mr. Wu
                                                                   2    nor Ms. Fung have taken any action to address them. [Satnick Dec. ¶14].
                                                                   3           C.     Mr. Wu and Ms. Fung Will Not Be Prejudiced By Attorneys’
                                                                   4    Withdrawal, Nor Will Withdrawal Cause Delay In Prosecution
                                                                   5           The timing of Attorneys’ withdrawal will not cause any prejudice to Mr. Wu or
                                                                   6    Ms. Fung, or cause delay in the prosecution of this action.
                                                                   7           As of the filing of this motion, the case is not yet fully at issue. The majority of
                                                                   8    the defendants are in default. The newly added defendants need only be served. Trial is
                                                                   9    over 160 away. It is also likely that the trial will need to be continued. [Satnick Dec. ¶5].
                                                                   10          Despite Ms. Fung’s stonewalling Attorneys from contacting Mr. Wu directly, on
                                                                   11   January 23, 2020, Attorneys sent a letter to Mr. Wu’s last known address directly
                                                                   12   informing him, of among other things, his obligation to appear pro se if he cannot find
                                                                   13   a substitute attorney under L.R. 83.2.3.3, the status of the case, upcoming important
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                                                                   14   deadlines, opposing counsels’ contact information, and furnishing a copy of the Court’s
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                                                                   15   scheduling order. [Satnick Dec. ¶15].
                                                                   16          In short, Attorneys have prepared the case for a smooth handoff to either Mr.
                                                                   17   Wu, pro se, or new counsel. The case can be picked up without delay and prosecution
                                                                   18   can continue forthwith with a clear path forward concerning pleadings, discovery, and
                                                                   19   trial preparation with ample time.
                                                                   20   IV.    CONCLUSION
                                                                   21          Representation has become so mentally, monetarily, and professionally onerous
                                                                   22   that the breakdown in the attorney-client relationship is irreparable. Attorneys are
                                                                   23   simply unable to continue effectively representing Mr. Wu and Ms. Fung for the
                                                                   24   reasons set forth herein and respectfully request that the Court grant their motion for
                                                                   25   withdrawal.
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                                                         Case 2:19-cv-04162-PSG-JPR Document 73 Filed 01/23/20 Page 8 of 8 Page ID #:490


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                                                                        DATED: 1/23/2020            SATNICK LAU LLP
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                                                                                                    By:
                                                                   4                                      ADAM M. SATNICK
                                                                                                          BENSON K. LAU
                                                                   5                                      Attorneys for Jian Na Wu
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